       Case 1:17-cv-02459-GLR Document 228 Filed 11/30/18 Page 1 of 2



                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

BROCK STONE, et al.,                       :

      Plaintiffs,                          :

v.                                         :         Civil Action No. GLR-17-2459

DONALD J. TRUMP, et al.,                   :

      Defendants.                          :

                                       ORDER

      For the reasons stated in the foregoing Memorandum Opinion, it is this 30th day of

November, 2018, hereby:

      ORDERED that Defendants’ Objections to the Magistrate Judge’s Memorandum

Opinion and Order (ECF No. 209) are OVERRULED;

      IT IS FURTHER ORDERED that Defendants’ Motion to Stay Compliance with the

Magistrate Judge’s Memorandum Opinion and Order (ECF No. 208) is GRANTED;

      IT IS FURTHER ORDERED that the effect of the USMJ’s Memorandum Opinion

and Order (ECF Nos. 204, 205) is STAYED pending the Ninth Circuit’s decision in In re

Donald J. Trump, No. 18-72159 (9th Cir. argued Oct. 10, 2018);

      IT IS FURTHER ORDERED that Plaintiffs’ Motion to Set a Date Certain for

Compliance with Discovery Order (ECF No. 222) is DENIED AS MOOT; and

      IT IS FURTHER ORDERED that the parties file a joint status report on or before
        Case 1:17-cv-02459-GLR Document 228 Filed 11/30/18 Page 2 of 2



January 31, 2019 addressing whether the Ninth Circuit has issued a decision in In re Donald

J. Trump, No. 18-72159.

                                                            /s/
                                                 ____________________________

                                                 George L. Russell, III
                                                 United States District Judge




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